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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 IN RE: SUBPOENA ISSUED IN:                                    1:22-mc-144
                                                     Misc. No. __________________

 St. Clair County Employees’ Retirement
 System v. Acadia Healthcare Company, Inc.
 et al., pending in the United States District for
 the Middle District of Tennessee, Case No.
 3:18-cv-00988-WLC-AEN


 DAVID FABER

                                Petitioner,
                v.

 CHICAGO VICINITY LABORERS
 DISTRICT COUNCIL PENSION FUND and
 NEW YORK HOTEL TRADES COUNCIL
 & HOTEL ASSOCIATION OF NEW YORK
 CITY, INC. PENSION FUND,

                                Respondents.



 DECLARATION OF ELIZABETH A. MCNAMARA IN SUPPORT OF PETITIONER
      DAVID FABER’S MOTION TO QUASH NON-PARTY SUBPOENA

       I, Elizabeth A. McNamara, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

       1.      I am an attorney at law duly licensed to practice before this Court. I am a partner

in the law firm of Davis Wright Tremaine LLP and counsel for non-party journalist David Faber

(“Mr. Faber”). I submit this declaration in support of Mr. Faber’s Motion to Quash the Non-Party

Subpoena served on him by the lead plaintiffs, Chicago Vicinity Laborers District Council Pension

Fund and New York Hotel Trades Council & Hotel Association of New York City, Inc. Pension

Fund (“Pension Funds”) (“Subpoena”), in an action pending in the United States District Court for
the Middle District of Tennessee, St. Clair County Employees’ Retirement System v. Acadia

Healthcare Company, Inc. et al., No. 3:18-cv-00988-WLC-AEN (M.D. Tenn.).
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       2.      On April 21, 2022, NBCUniversal accepted service in New York, New York, of

the Subpoena commanding Mr. Faber’s testimony in a remote deposition that is at issue in this

motion. Attached hereto as Exhibit A is a true and correct copy of the Subpoena.

       3.      Mr. Faber previously received a subpoena issued by the Pension Funds for

documents related to his November 16, 2018 statements (“Statements”) on the CNBC program

“Squawk on the Street” regarding the stalled leveraged buyout of Acadia Healthcare, defendants

in the Middle District of Tennessee litigation (“Acadia”). On August 31, 2021, Mr. Faber, through

counsel, informed the Pension Funds that there “are no documents in [his] possession, custody, or

control responsive to either of the two document requests in the [s]ubpoena[.]”

       4.      On April 26, 2022, NBCUniversal’s in-house counsel spoke with Christopher

Wood, counsel for the Pension Funds, regarding the Subpoena.                 Mr. Wood informed

NBCUniversal’s in-house counsel that the Pension Funds sought to determine whether the

Statements were based on information received from Acadia or one of its agents or employees, in

order to rebut Acadia’s opposition to the Pension Funds’ motion for class certification. Mr. Wood

further informed NBCUniversal’s in-house counsel that the Pension Funds would agree to a

reasonable extension of time for the deposition of Mr. Faber to allow the parties to brief any motion

to quash.

       5.      On May 5, 2022, I also conferred with Mr. Wood regarding the Subpoena. Mr.

Wood stated that the Pension Funds sought the identity of Mr. Faber’s source(s) for the Statements
but did not describe any other information sought from Mr. Faber. While acknowledging that the

class certification motion is fully briefed and pending before the Middle District of Tennessee, Mr.

Wood stated that the Pension Funds also sought the identity of the Statements’ source(s) for use at

the summary judgment stage and that they had attempted to seek the information from other

sources, including Acadia and a private equity entity, but failed. Mr. Wood and I agreed that Mr.

Faber’s deposition date would be continued pending the resolution of Mr. Faber’s motion to quash.

We subsequently agreed to the following briefing schedule for the motion: Mr. Faber’s motion to




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quash due by May 20, 2022; the Pension Funds’ opposition due by June 3, 2022; and Mr. Faber’s

reply due by June 15, 2022.

       6.         Attached hereto as Exhibit B is a true and correct copy of the consolidated class

action complaint filed by the Pension Funds in St. Clair County Employees’ Retirement System v.

Acadia Healthcare Company, Inc. et al., No. 3:18-cv-00988-WLC-AEN, ECF No. 39 (M.D. Tenn.

filed Apr. 1, 2019).

       7.         Attached hereto as Exhibit C is a true and correct copy of the memorandum of law

in support of Acadia’s motion to dismiss filed in St. Clair County Employees’ Retirement System

v. Acadia Healthcare Company, Inc. et al., No. 3:18-cv-00988-WLC-AEN, ECF No. 41 (M.D.

Tenn. filed May 31, 2019).

       8.         Attached hereto as Exhibit D is a true and correct copy of the memorandum of law

in opposition to Acadia’s motion to dismiss filed in St. Clair County Employees’ Retirement

System v. Acadia Healthcare Company, Inc. et al., No. 3:18-cv-00988-WLC-AEN, ECF No. 47

(M.D. Tenn. filed July 30, 2019).

       9.         Attached hereto as Exhibit E is a true and correct copy of the reply in support of

Acadia’s motion to dismiss filed in St. Clair County Employees’ Retirement System v. Acadia

Healthcare Company, Inc. et al., No. 3:18-cv-00988-WLC-AEN, ECF No. 50 (M.D. Tenn. filed

Aug. 29, 2019).

       10.        Attached hereto as Exhibit F is a true and correct copy of the court’s order denying
Acadia’s motion to dismiss issued in St. Clair County Employees’ Retirement System v. Acadia

Healthcare Company, Inc. et al., No. 3:18-cv-00988-WLC-AEN, ECF No. 54 (M.D. Tenn. filed

Jan. 20, 2021).

       11.        Attached hereto as Exhibit G is a true and correct copy of the answer and defenses

filed by Acadia in St. Clair County Employees’ Retirement System v. Acadia Healthcare Company,

Inc. et al., No. 3:18-cv-00988-WLC-AEN, ECF No. 62 (M.D. Tenn. filed Feb. 19, 2021).

       12.        Attached hereto as Exhibit H is a true and correct copy of the court’s order

amending pre-trial deadlines set forth in the court’s case management orders issued in St. Clair


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County Employees’ Retirement System v. Acadia Healthcare Company, Inc. et al., No. 3:18-cv-

00988-WLC-AEN, ECF No. 96 (M.D. Tenn. filed Oct. 5, 2021).

       13.     Attached hereto as Exhibit I is a true and correct copy of the memorandum of law

in support of the Pension Funds’ updated motion for class certification filed in St. Clair County

Employees’ Retirement System v. Acadia Healthcare Company, Inc. et al., No. 3:18-cv-00988-

WLC-AEN, ECF No. 113 (M.D. Tenn. filed Feb. 1, 2022).

       14.     Attached hereto as Exhibit J is a true and correct copy of Acadia’s memorandum

of law in opposition to the Pension Funds’ updated motion for class certification filed in St. Clair

County Employees’ Retirement System v. Acadia Healthcare Company, Inc. et al., No. 3:18-cv-

00988-WLC-AEN, ECF No. 120 (M.D. Tenn. filed Mar. 1, 2022).

       15.     Attached hereto as Exhibit K is a true and correct copy of Lucy P. Allen’s expert

report attached as an exhibit to the Declaration of Milton S. McGee, in support of Acadia’s

opposition to the Pension Funds’ motion for class certification, filed in St. Clair County

Employees’ Retirement System v. Acadia Healthcare Company, Inc. et al., No. 3:18-cv-00988-

WLC-AEN, ECF No. 121-1 (M.D. Tenn. filed Mar. 1, 2022).

       16.     Attached hereto as Exhibit L is a true and correct copy of the reply in support of

the Pension Funds’ updated motion for class certification filed in St. Clair County Employees’

Retirement System v. Acadia Healthcare Company, Inc. et al., No. 3:18-cv-00988-WLC-AEN,

ECF No. 133 (M.D. Tenn. filed Apr. 1, 2022).
       17.     Attached hereto as Exhibit M is a true and correct copy of W. Scott Dalrymple’s

rebuttal expert report attached as an exhibit to the Declaration of Christopher M. Wood, in support

of the Pension Funds’ reply in support of their updated motion for class certification, filed in St.

Clair County Employees’ Retirement System v. Acadia Healthcare Company, Inc. et al., No. 3:18-

cv-00988-WLC-AEN, ECF No. 134-1 (M.D. Tenn. filed Apr. 1, 2022).


       I declare under penalty of perjury that the foregoing is true and correct.




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Executed on: May 20, 2022
             New York, New York               /s/ Elizabeth A. McNamara
                                              Elizabeth A. McNamara




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